                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JOSEPH A HANNAH,                          )
                                          )
                      Plaintiff,          )
                                          )
              v.                          )             1:21-CV-555
                                          )
FORSYTH COUNTY SHERIFF                    )
DEPARTMENT, et al.,                       )
                                          )
                      Defendants.         )

                                         ORDER

       The Recommendation of the United States Magistrate Judge was filed in

accordance with 28 U.S.C. § 636(b) and the Clerk served the Recommendation on the

plaintiff. No objections were filed. After consideration of the record, the Court hereby

adopts the Magistrate Judge’s Recommendation.

       It is ORDERED that the plaintiffs’ claims against defendants Kimbrough, Billy

Warren, Richard Carleton and Robert E. Slater may proceed but the remainder of the

claims in the complaint – against the Forsyth County Sheriff’s Department and Wellpath

Healthcare - are DISMISSED without prejudice pursuant to 28 U.S.C. § 1915A for

failing to state a claim upon which relief may be granted.

       This the 12th day of October, 2021.




                                          _________________________________
                                          UNITED STATES DISTRICT JUDGE




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